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Clerks Office
% Mark J. Zanchelli
U.S. Court of Appeals
4th Circuit FILED
1100 FE. Main St. Suite 501 -

JUL 2 3 2010 July 17, 2010

Richmond, Va 23219-3517
US Cour. appeals
4th Circuit

Dear Mr. Zachelli

I'm sorry to worry you, but to date I have not received my
transcripts. Enclosed is a copy of the last three letters I received

from my attorney Michael Montemarano. It’s very frustrating when one
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is ignored, instantaneously and constantly lied to. Please if you can

assist me or put me in touch with someone that will.

Respectfully, ”

Paulette Martin

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July 17, 2010

Clerk's Office

% Mark J. Zanchelli

U.S. Court of Appeals

4th Circuit

1100 E. Main St. Suite 501
Richmond, Va. 23219-3517

Re: U.S v. Martin et al case-07+4060
Dear Mr. Zanchelli:

The court ordered my attorney Michael D. Montemarano to copy and send my
transcripts in March of 2010. As of today July 17th, 2010 I have yet to receive
them. 1 received the permission for the mailroom to accept them as well as a
secured legal locker for storage. This permit is only good for 30 days.

Would you please urge Att. Montemarano to give me a date certain for delivery?
And would: you please send me my complete docket print out for USA v. Martin et al
case 07-4060.

Thank you for your time and efforts on my behalf.

Respectfully

P) le Tad

Paulette Martin

MICHAEL D. MONTEMARANO, P.A.

tito rey and @oundellar at Baw
5695 MAIN STREET
SUITE 201
ELKRIDGE, MARYLAND 21075-5016
(410) 379-0067
FAX (410) 540-9950
email: montemaranoO7 @gmail.com
April 19, 2010
Ms. Paulette Martin
USMS # 38350-037
USP Hazelton — SFY
PO Box 3000.

Bruceton Mills, WV 26525

RE: United States v. Paulette Martin, et al.
4 Circuit No. 07-4060

Dear Ms. Martin:

I write to update you regarding the appéal'and fle transcript. Another delay in the
filing of the appeal has cropped up, regarding both the forfeiture issue and the failure of Ali’s
attorney to obtain the transcript of her sentencing. This means that the brief will be delayed until
mid-May, which also means that I will not be able to ship the transcript until about then, as I will
need to use the loose copies to make copies of the pages needed for the joint appendix. At this
point, it appears I will be raising the following issues on your behalf:

> reasonableness of sentence. overall |...
> gun enhancement of sentence

> speedy trial, ec ee:
> use of police “experts”

As to the issues you raised to me in your letter last July, I will look into them, but
doubt that any make very much sense. I do not recall Rule 404 evidence being an issue, and Ms.
Levi was not your “accuser,” so I do not.understand what you want me to do regarding this. The
question of the sufficiency of the evidence and conspiracy evidence would be a waste of time.

MICHAEL D. MONTEMARANO, P.A.

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5695 MAIN STREET
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(410) 379-0067
FAX (41.0) 540-9950
email: montemarano6/ @gmail. comm

March 30, 2010

Ms. Paulette Martin
USMS # 38350-037

USP Hazelton —- SFF

PO Box +000

Bruceton Mills, WV 26525

RE: United States v. Paulette Martin, et al.
4" Circuit No. 07-4060

Dear Ms. Martin:

I write to update you regarding the transcript, which has been reproduced for you.
1 have two large boxes with all 9,700 pages of transcript waiting to be shipped to you. I only
await the forms or other authorization described in my letter of March 26, however, 1 cannot and

will not ship until [ receive this.

Very truly yo

Michael D. Montemarano
MDM/ap

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MICHAEL D. MONTEMARANO, P.A.

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FAX (410) 340-9930

email: montemara n007@gmail.com

March 26, 2010

Ms. Paulette Martin
USMS # 38350-037

USP Hazelton ~ SFF

PO Box 3000

Bruceton Mills, WV 26525

RE: United States v. Paulette Martin, et al.
4" Circuit No. 07-4060

Dear Ms. Martin:

Having received your various requests for the transcript, although you never
undertook to do what I explained would be necessary ~ a clear and specific letter to the Court
requesting the excessive cost transcript - | called the Court to clarify the status. Since your
request to the Court did not track my instructions, at the direction of the Court I filed a formal
motion for this, which was granted, for leave to copy your transcript al government expense and
to ship it to you. I will have it done by early next week. What happens now is up to you.

My experience dealing with the Bureau of Prisons for fifteen years is as follows.
Large packages or boxes of legal documents only will be accepted by the BOP for an inmate if
prior authorization is obtained for their shipment. This authorization usually also means that the
inmate will be provided forms to be included inside the package by the shipper, which must be
sent via US Mail. I will be taking your transcript to a commercial copier this weekend, and will
have it ready to be shipped next week. It will be at least two, and perhaps three, large boxes of
paper. You need to contact your counselor and get permission for this, and send the forms
you are given, or any other instructions, to me as soon as possible in the enclosed envelope.
This is not a request. Without this, the copy I will have made will sit here unti! the appeal is
complete, as | will not send a shipment only to see it returned.

Very truly youry,

Michael D. Montemarano
MDM/ap

=

38350-037
~ PAULETTE MARTIN
>>> Unfair Justice <<<
S.f.f. Hazelton
PO. BOX 3000
Bruceton Mills, WV - 26525
United States

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§. MARSHAL

INSPECT CD

> 38350-0372 see
- US COURT OF APPEALS “>
47H Circuit
1100 E. MAIN Street #501
Richmond, VA - 23219 - 3517
United States

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